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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA
                                  BRUNSWICK DIVISION

PATRICIA KENNEDY,

           Plaintiff,

v.                                                          Case No:

OHM SHREE GANISH, INC.,

          Defendant,
______________________________/

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

        Plaintiff, PATRICIA KENNEDY, Individually, on her behalf and on behalf of all other

 individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

 OHM SHREE GANESH, INC, (sometimes referred to as “Defendant”), for Injunctive Relief, and

 attorney’s fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act,

 42 U.S.C.§ 12181 et seq. (“ADA”).

 1.             Plaintiff is a resident of Broward County, Florida, is sui juris, and qualifies as an

                individual with disabilities as defined by the ADA. Plaintiff is unable to engage in

                the major life activity of walking more than a few steps without assistive devices.

                Instead, Plaintiff is bound to ambulate in a wheelchair or with a cane or other support

                and has limited use of her hands. She is unable to tightly grasp, pinch and twist of

                the wrist to operate. When ambulating beyond the comfort of her own home,

                Plaintiff must primarily rely on a wheelchair. Plaintiff requires accessible handicap

                parking spaces located closest to the entrances of a facility. The handicap and access

                aisles must be of sufficient width so that she can embark and disembark from a

                ramp into her vehicle. Routes connecting the handicap spaces and all features,

                goods and services of a facility must be level, properly sloped, sufficiently wide
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           and without cracks, holes or other hazards that can pose a danger of tipping,

           catching wheels or falling. These areas must be free of obstructions or unsecured

           carpeting that make passage either more difficult or impossible. Amenities must be

           sufficiently lowered so that Plaintiff can reach them. She has difficulty operating

           door knobs, sink faucets, or other operating mechanisms that tight grasping, twisting

           of the wrist or pinching. She is hesitant to use sinks that have unwrapped pipes, as

           such pose a danger of scraping or burning her legs. Sinks must be at the proper

           height so that she can put her legs underneath to wash her hands. She requires

           grab bars both behind and beside a commode so that she can safely transfer and

           she has difficulty reaching the flush control if it is on the wrong side. She has

           difficulty getting through doorways if they lack the proper clearance.

2.         For many years, Plaintiff h a s t r a v e l e d t h r o u g h o u t , a n d c o n t i n u e s

           to travel throughout, Florida and Georgia. She plans to

           continue to do so.

3.         Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

           "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

           determining whether places of public accommodation and their websites are in

           compliance with the ADA.

4.         According to the county property records, Defendant owns a place of public

           accommodation as defined by the ADA and the regulations implementing the ADA,

           28 CFR 36.201(a) and 36.104. The place of public accommodation that the

           Defendant owns is a place of lodging known as Camden Motor Lodge, and is

           located at or about 720 S. Lee Street, Kingsland, in the County of Camden,

           Georgia (hereinafter "Property").

5.         Venue is properly located in the Southern District o f G e o r g i a b e c a u s e t h a t i s
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           where the Defendant maintains its principal place of business.

6.         Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

           original jurisdiction over actions which arise from the Defendant’s violations of Title

           III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

           U.S.C. § 2201 and § 2202.


7.         As the owner of the subject place of lodging, Defendant is required to comply with

           the ADA. As such, Defendant is required to ensure that its place of lodging is in

           compliance with the standards applicable to places of public accommodation, as set

           forth in the regulations promulgated by the Department Of Justice. Said regulations

           are set forth in the Code Of Federal Regulations, the Americans With Disabilities

           Act Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards,

           incorporated by reference into the ADA. These regulations impose requirements

           pertaining to places of public accommodation, including places of lodging, to ensure

           that they are accessible to disabled individuals.

8.         More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

           requirement:

           Reservations made by places of lodging. A public accommodation that owns,
           leases (or leases to), or operates a place of lodging shall, with respect to
           reservations made by any means, including by telephone, in-person, or through
           a third party -
                   (i) Modify its policies, practices, or procedures to ensure that individuals
                   with disabilities can make reservations for accessible guest rooms during
                   the same hours and in the same manner as individuals who do not need
                   accessible rooms;
                   (ii) Identify and describe accessible features in the hotels and guest
                   rooms offered through its reservations service in enough detail to
                   reasonably permit individuals with disabilities to assess independently
                   whether a given hotel or guest room meets his or her accessibility needs;
                   (iii) Ensure that accessible guest rooms are held for use by individuals
                   with disabilities until all other guest rooms of that type have been rented
                   and the accessible room requested is the only remaining room of that type;
                   (iv) Reserve, upon request, accessible guest rooms or specific types of
                   guest rooms and ensure that the guest rooms requested are blocked and
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                   removed from all reservations systems; and
                   (v) Guarantee that the specific accessible guest room reserved through
                   its reservations service is held for the reserving customer, regardless of
                   whether a specific room is held in response to reservations made by
                   others.

9.          These regulations became effective March 15, 2012.

10.         Defendant, either itself or by and through a third party, implemented, operates,

            controls and or maintains a website for the Property which contains an online

            reservations system. This term includes all websites owned and operated by

            Defendant or by third parties to book or reserve guest accommodations at the

            hotel: https://www.booking.com/hotel/us/camden-inn.html,

            https://www.agoda.com/camden-inn-suites/hotel/kingsland-ga-us.html?cid=-218,

            and

            https://www.priceline.com/relax/at/32160506/from/20190318/to/20190319/rooms

            /1. The purpose of these websites are so that members of the public may reserve

            guest accommodations and review information pertaining to the goods, services,

            features, facilities, benefits, advantages, and accommodations of the Property.

            The websites are the gateway to the Defendant’s property. As such, this website

            is subject to the requirements of 28 C.F.R. Section 36.302(e).

11.         On February 16, 2019, February 22, 2019, February 26, 2019 and February 28,

            2019, Plaintiff visited the websites for the purpose of reviewing and assessing the

            accessible features at the Property and ascertain whether they meet the

            requirements of 28 C.F.R. Section 36.302(e) and her accessibility needs.

            However, Plaintiff was unable to do so because Defendant failed to comply with

            the requirements set forth in 28 C.F.R. Section 36.302(e). As a result, Plaintiff

            was deprived the same goods, services, features, facilities, benefits, advantages,

            and accommodations of the Property available to the general public. A review of
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      the websites the hotel uses for booking showed no reference to accessible rooms.

      There was no option to book an accessible room. No information was given as to

      whether or where the hotel offers compliant/accessible roll-in showers, tubs, built

      in seating, commodes, grab bars, sinks, wrapped pipes, sink and door hardware,

      properly located amenities, sufficient maneuvering spaces, compliant doors,

      furniture, controls and operating mechanisms. The websites do not contain any

      information as to whether all goods, facilities and services at the property are

      connected by a compliant accessible route, nor do the websites contain any

      information as to the accessibility of routes connecting all the features of the

      hotel, the transaction counter, parking, and common area restrooms. The websites

      do not give any information as to whether accessible rooms are on the ground

      floor or if an elevator is provided within an accessible route. The hotel claims to

      have free public parking, but there is no information as to whether any or all of

      these hotel features are accessible. More specifically:

      https://www.booking.com/hotel/us/camden-inn.html: had no option to book an

      accessible room. Hotel amenities, room types and amenities are all listed in detail.

      No information was given about accessibility in the hotel.

      https://www.agoda.com/camden-inn-suites/hotel/kingsland-ga-us.html?cid=-218:

      had no option to book an accessible room. Hotel amenities, room types and

      amenities are all listed in detail. No information was given about accessibility in

      the hotel.

      https://www.priceline.com/relax/at/32160506/from/20190318/to/20190319/rooms

      /1: had no option to book an accessible room. Hotel amenities, room types and

      amenities are all listed in detail. No information was given about accessibility in

      the hotel. In the near future, Plaintiff intends to revisit Defendant's websites
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            and/or online reservations systems in order to test it for compliance with 28

            C.F.R. Section 36.302(e) and/or to utilize the website to reserve a guest room and

            otherwise avail herself of the goods, services, features, facilities, benefits,

            advantages, and accommodations of the Property.

12.         On or about April 4, 2019, the Plaintiff, here, sued the Defendant for those

            violations of the A.D.A. in the Southern District of Florida, case no: 0:19-cv-

            60847. That case was voluntarily dismissed without prejudice.

13.         Subsequently, specifically on July 16, 2019, July 17, 2019, July 20, 2019,

            July 21, 2019, July 24, 2019, July 27, 2019, July 29, 2019, August 5, 2019,

            August 9, 2019, September 10, 2019, October 21, 2019, February 20, 2020,

            March 9, 2020, March 12, 2020, April 4, 2020, April 9, 2020, and April 14,

            2020, the Plaintiff revisited each of the websites identified above. Despite the

            notice provided by the initial lawsuit, she encountered the same barriers on

            each of her subsequent visits.

14.         Plaintiff is continuously aware that the subject website remains non-compliant

            and that it would be a futile gesture to revisit the website as long as those

            violations exist unless she is willing to suffer additional discrimination.

15.         The violations present at Defendant's website infringe Plaintiff's right to travel

            free of discrimination and deprive her of the information required to make

            meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

            frustration and humiliation as the result of the discriminatory conditions present at

            Defendant's website. By continuing to operate a website with discriminatory

            conditions, Defendant contributes to Plaintiff's sense of isolation and segregation

            and deprives Plaintiff the full and equal enjoyment of the goods, services,

            facilities, privileges and/or accommodations available to the general public. By
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            encountering the discriminatory conditions at Defendant's website, and knowing

            that it would be a futile gesture to return to the website unless she is willing to

            endure additional discrimination, Plaintiff is deprived of the same advantages,

            privileges, goods, services and benefits readily available to the general public. By

            maintaining a website with violations, Defendant deprives Plaintiff the equality of

            opportunity offered to the general public.

16.         Plaintiff has suffered and will continue to suffer direct and indirect injury as a

            result of the Defendant’s discrimination until the Defendant is compelled to

            modify its website to comply with the requirements of the ADA and to

            continually monitor and ensure that the subject website remains in compliance.

17.         Plaintiff has a realistic, credible, existing and continuing threat of discrimination

            from the Defendant’s non-compliance with the ADA with respect to this website.

            Plaintiff has reasonable grounds to believe that she will continue to be subjected

            to discrimination in violation of the ADA by the Defendant.

18.         The Defendant has discriminated against the Plaintiff by denying her access to,

            and full and equal enjoyment of, the goods, services, facilities, privileges,

            advantages and/or accommodations of the subject website.

19.         The Plaintiff and all others similarly situated will continue to suffer such

            discrimination, injury and damage without the immediate relief provided by the

            ADA as requested herein.

20.         Defendant has discriminated against the Plaintiff by denying her access to full and

            equal enjoyment of the goods, services, facilities, privileges, advantages and/or

            accommodations of its place of public accommodation or commercial facility in

            violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

            Defendant continues to discriminate against the Plaintiff, and all those similarly
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             situated by failing to make reasonable modifications in policies, practices or

             procedures, when such modifications are necessary to afford all offered goods,

             services, facilities, privileges, advantages or accommodations to individuals with

             disabilities; and by failing to take such efforts that may be necessary to ensure

             that no individual with a disability is excluded, denied services, segregated or

             otherwise treated differently than other individuals because of the absence of

             auxiliary aids and services.

21.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

             12205 and 28 CFR 36.505.

22.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

             Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

             subject website to make it readily accessible and useable to the Plaintiff and all

             other persons with disabilities as defined by the ADA and 28 C.F.R. Section

             36.302(e); or by closing the website until such time as the Defendant cures its

             violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.     Injunctive relief against the Defendant including an order to revise its website to

             comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

             maintain the website to ensure that it remains in compliance with said requirement.

      c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.
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      § 12205.

d.    Such other relief as the Court deems just and proper, and/or is allowable under

      Title III of the Americans with Disabilities Act.


      Respectfully Submitted,


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